Case 3:09-cv-00385-MMH-TEM Document 18 Filed 11/16/09 Page 1 of 3 PageID 97




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

BRADLEY BELFIELD,

              Plaintiff,

vs.                                                        CASE NO. 3:09-cv-385-J-34TEM

GC SERVICES LIMITED PARTNERSHIP-
DELAWARE,

           Defendants.
_________________________________

                                          ORDER

       This matter is before the Court on Plaintiff’s Motion to Compel More Specific

Answers to Discovery and Brief in Support of Motion (Doc. #16, Motion), filed September

10, 2009. Defendant GC Services Limited Partnership filed a response in opposition to the

Motion on September 15, 2009 (Doc. #17, Response).

       The Court has reviewed the Motion and noted several deficiencies. First, Plaintiff

fails to comply with Local Rule 3.01(g), United States District Court, Middle District of

Florida. Secondly, Plaintiff erroneously cites Florida Rules for Civil Procedure Rule 1.380.

Lastly, Plaintiff failed to include all interrogatories and corresponding responses in their

entirety as required by Local Rule 3.04(a).

       Plaintiff asserts that “Plaintiff attempted to work this matter out with defense counsel

prior to filing this Motion . . . ” and includes, as evidence of his efforts, a letter dated July

27, 2009 requesting responses to propounded discovery (Doc. #16 at 4, Doc. #16–3 at 2).

Contrary to Plaintiff’s contention, this letter is not the equivalent of a good faith conference

required by 3.01(g). See Pickett v. Executive Preference Corp., No. 6:05-CV-1128-ORL-
Case 3:09-cv-00385-MMH-TEM Document 18 Filed 11/16/09 Page 2 of 3 PageID 98




31-DAB, 2006 WL 2045938 at *1 (M.D. Fla. July 20, 2006) (finding that a facsimile

message is not the equivalent of a good faith conference required under 3.01(g)).

         Additionally, with respect to Local Rule 3.01(g), the Court has noted “[t]he purpose

of the rule is to require the parties to communicate and resolve certain types of disputes

without court intervention.” Desai v. Tire Kingdom, Inc., 944 F.Supp. 876, 878 (M.D. Fla.

1996).     At least one magistrate judge in the Middle District of Florida has construed the

mandates of Rule 3.01(g) to “mean to speak to each other in person or by telephone, in a

good faith attempt to resolve disputed issues.” Davis v. Apfel, No. 6:98-CV-651-ORL-22A,

2000 WL 1658575 at *2 (M.D. Fla. Aug. 14, 2000). Many disputes are more easily resolved

when the parties actually speak with each other and a single letter is not enough to satisfy

Local Rule 3.01(g) as construed by the Court.

         The Court also finds error wherein Plaintiff cites Florida Rules of Civil Procedure

Rule 1.380 throughout the Motion. This matter has been removed to federal court pursuant

to the Notice of Removal filed on April 7, 2009 (Doc. #1).         Therefore, Florida rules of

procedure do not apply.

         Lastly, the Court finds Plaintiff failed to provide all the disputed discovery requests

and the corresponding responses. More specifically, the Court would note that page 7 of

Doc. #16-4 begins in the middle of Defendant’s Answers to Interrogatories and there is no

indication as to which interrogatories and corresponding answers Plaintiff wishes the Court

to address. The Court shall not, under these circumstances, make any assumptions as to

which discovery requests the Plaintiff seeks to compel.

         Thus, upon due consideration it is hereby ORDERED:

         Plaintiff’s Motion to Compel More Specific Answers to Discovery and Brief in Support
Case 3:09-cv-00385-MMH-TEM Document 18 Filed 11/16/09 Page 3 of 3 PageID 99




of Motion (Doc. #16, Motion) is DENIED without prejudice. The parties are encouraged

to confer in an effort to resolve the outstanding disputes. If discovery disputes remain

unresolved, then upon verification of such conference counsel may file a renewed motion

after correcting the noted deficiencies.

       DONE AND ORDERED at Jacksonville, Florida this 16th day of November, 2009.




Copies to all counsel of record
      and pro se parties, if any
